         Case
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 1   DANIEL G. BOGDEN
     United States Attorney
 2   District of Nevada
     SUSAN CUSHMAN
     Assistant United States Attorney
 3   501 Las Vegas Boulevard South
     Suite 1100
 4   Las Vegas, Nevada 89101
     702-388-6336
 5
                         UNITED STATES DISTRICT COURT
 6
                              DISTRICT OF NEVADA
 7                                                   -oOo-

 8   UNITED STATES OF AMERICA,                         )
                                                       ) Case No.: 2:15-cr-0255-JAD-PAL
                      Plaintiff,                       )
 9                                                     ) STIPULATION TO CONTINUE
                                                       ) SENTENCING
10          vs.                                        )
                                                       )
11   PAUL ENGSTROM,                                    )
                                                       )
12                    Defendant.                       )
                                                       )
13                IT IS HEREBY STIPULATED AND AGREED, by and between Daniel Bogden,

14   United States Attorney; Susan Cushman, Assistant United States Attorney, counsel for the United

15   States of America and Tom Ericsson, Esq., counsel for defendant, that sentencing in the above-

16   captioned matter currently scheduled to commence on Wednesday, January 18, 2017, at 11:00

17   a.m. be continued for not sooner than 2 weeks or to date a date and time convenient to the Court

18   and both counsel.

19
                  This Stipulation is entered into for the following reason:
20
                  1. Counsel for the government needs time to respond to Defendant’s sentencing
21
     memorandum. Local Rule (LCR) 32-1(d) states that “[a] sentencing memorandum addressing
22
     any unresolved objections to the presentence report or other sentencing issues shall be filed by
23
     either party … not later than 5 court days before the sentencing hearing.” On January 11, 2017,
24
         Case
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 1   Defendant filed a 26-page sentencing memorandum with 67- pages of exhibits. According to

 2   LCR 32-1(d) the United States’ response is due three court days prior to the date set for sentencing

 3   which would be January 11, 2017 - the same day Defendant filed his sentencing memorandum

 4              2. The parties agree to the continuance.
 5
                3. The defendant is in custody, and does not object to the request.
 6
                4. This is the first request to continue the sentencing.
 7
                DATED this 12th day of January, 2017.
 8
                                                   Respectfully submitted,
 9
                                                   DANIEL G. BOGDEN
10                                                 United States Attorney
11                                                 /s/ Susan Cushman
                                                   _________________________
12                                                 SUSAN CUSHMAN
                                                   Assistant United States Attorney
13
                                                   /s/ Tom Ericsson
14                                                 _________________________
                                                   TOM ERICSSON, ESQ.
15                                                 Counsel for Defendant
16

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         Case
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 2                     UNITED STATES DISTRICT COURT
 3                          DISTRICT OF NEVADA
                                                  -oOo-
 4
     UNITED STATES OF AMERICA,                       )
 5                                                   ) Case No.: 2:15-cr-0255-JAD-PAL
                    Plaintiff,                       )
                                                     )
 6                                                   ) ORDER TO CONTINUE
            vs.                                      ) SENTENCING
 7                                                   )
     PAUL ENGSTROM,                                  )
 8                                                   )
                    Defendant.                       )
 9                                                   )

10          Based on the pending Stipulation of counsel, and good cause appearing therefore, the

11   Court hereby orders that sentencing in the above-captioned matter be vacated and continued until

12   February 13, 2017 at 10:00 a.m.
     ___________________________  at the hour of __________ .m.

13         DATED
         DATED    this
               this    ____
                    13th    day
                          day ofofJanuary,
                                   January 2017.
                                           2017.

14

15                                               ________________________________
                                                 UNITED STATES DISTRICT JUDGE
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